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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

 

UNITED STATES OF AMERICA ) FILED EX PARTE AND UNDER SEAL
Plaintiff, )
)

Vv. ) Criminal No.: 19-10459-RWZ
)
27. ROBERT AVITABILE, )
A/K/A “BOBBY,” )
Defendant. )
MOTION TO UNSEAL

The United States, by and through its attorney, Andrew E. Lelling, United States Attorney
for the District of Massachusetts, hereby moves to unseal the following documents:

1) United States’ Motion to Seal dated December 4, 2019;

2) Motion for Lis Pendens filed on December 4, 2019;

3) Motion for Restraining Order filed on December 4, 2019;

4) Memorandum of Law in Support of Motion for Restraining Order;

5) Proposed Lis Pendens;

6) Proposed Restraining Order;

7) Lis Pendens issued on December 5, 2019;

8) Restraining Order issued on December 5, 2019; and

9) the herein Motion to Unseal.

As grounds, therefore, the United States submits that the documents above have been
properly served and/or recorded. Accordingly, there is no longer a risk that disclosure of the
documents could result in the alienation, dissipation, transfer, or assignment of the assets subject

to forfeiture.
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WHEREFORE, the United States respectfully requests that this Court unseal only the

above-referenced documents.

Dated: December 6, 2019

SO ORDERED:

 

RYA W. ZOBEL
Senior United States District Judge

Dated:

 

By:

Respectfully submitted,

ANDREW E. LELLING
United States Attorney

/s/ Carol E. Head

PHILLIP MALLARD

RACHEL E. GOLDSTEIN

CAROL E. HEAD, B.B.O. # 652170
Assistant United States Attorney
U.S. Attorney’s Office

1 Courthouse Way, Suite 9200
Boston, MA 02210

(617) 748-3100

carol. head@usdoj.gov
